   Case: 1:18-cv-04829 Document #: 1 Filed: 07/14/18 Page 1 of 8 PageID #:1



______________________________________________________________________
                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                       EASTERN DIVVILLAGEON

MARY GRANZIANO-MATTHEWS, KEVIN SHAW &              )
VERNELL TOBIAS,                                    )
                                                   )
                       Plaintiffs                   )     No: 18 CV 4829
                                                   )
       vs.                                          )
                                                   )
VILLAGE OF FORD HEIGHTS,                             )
                                                     ) JURY DEMAND
                                                     )
                        Defendant.                   )
________________________________________________________________________
                              COMPLAINT
                 AS AND FOR A FIRST CAUSE OF ACTION
           (AGE DISCRIMINATION IN VIOLATION TO THE ADEA)

NOW COMES the Plaintiff, MARY GRANZIANO-MATTHEWS (“MATTHEWS”),

KEVIN SHAW (“SHAW”) & VERNELL TOBIAS, (“TOBIAS”), by and through

their attorney, MICHAEL T. SMITH & ASSOCIATES, and in complaining of the

VILLAGE OF FORD HEIGHTS, (“Defendant” or “VILLAGE”), and states as follows:

                            JURISDICTION AND VENUE
  1.     Plaintiffs brings this action for benefits under the Age Discrimination in

Employment Act of 1967 (hereinafter sometimes referred to as the ADEA), 29 U.S.C. §

621-634, under the specific provisions of the Age Discrimination in Employment Act,

viz. 29 U.S.C. § 626(c).

  2.    Jurisdiction of this action is conferred upon the Court by Section 7(b) of the Age

Discrimination in Employment Act, 29 U.S.C. § 626 (b) and Venue 28 U.S.C. § 1331.

  3.    The employment practices hereafter alleged to be unlawful were and are now

being committed in the Northern District of Illinois, Eastern Division.
   Case: 1:18-cv-04829 Document #: 1 Filed: 07/14/18 Page 2 of 8 PageID #:2



                                       PARTIES
          AS AND FOR A FIRST CAUSE OF ACTION BY MARY
           GRAZIANO-MATTHEWS AGE DISCRIMINATION


  4.     MATTHEWS is an adult person and a resident of Maywood, Cook County, State

of Illinois.

  5.     MATTHEWS was an employee of VILLAGE, starting in October of 2014 until

her wrongful termination on May 8, 2017.

  6.      At all times relevant, VILLAGE body politic organized under the laws of the

State of Illinois.


  7. VILLAGE is an employer within the meaning of the ACT and has been at all times

material to the allegations herein.


                                STATEMENT OF FACTS

  7.    MATTHEWS was a Village Administrator for VILLAGE until being terminated

on May 8, 2017.

  8.     At all times relevant, VILLAGE and has continuously had and now have more

than 15 employees.

  9. MATTHEWS was 56 years of age at the relevant times and falls within the group

protected by the ADEA.

 10. At all times material herein and hereinafter mentioned VILLAGE has engaged in

and employed its employees, at all times material herein, engaged in commerce within

the meaning of the ADEA.

11.    VILLAGE is an employer within the meaning of the ADEA.

12. On or about May 8, 2017, while meeting the minimum standards of her employer,


                                            2
   Case: 1:18-cv-04829 Document #: 1 Filed: 07/14/18 Page 3 of 8 PageID #:3



the defendant willfully discriminated against MATTHEWS because of her age by

treating her differently in terms and conditions, telling MATTHEWS she didn’t feel

comfortable with her working for her and then subjecting her to an adverse employment

action by terminating her from employment and replacing her with significantly younger

person.

13.       As a result of VILLAGE’s actions and termination, the MATTHEWS has been

deprived of her wages and employment benefits.

14. In addition, the MATTHEWS seeks to be reinstated, but if she is not reinstated, she

will continue to be deprived of wages and employment benefits in the future. The

MATTHEWS is therefore entitled to an award of front pay if reinstatement is not

possible.

15. VILLAGE’s conduct was at all times willful and wanton entitling MATTHEWS to

liquidated damages.

                               PROCEDURAL FACTS

16.    MATTHEWS protested her unlawful treatment filed charges of the discrimination

herein alleged with the Equal Employment Opportunity Commission at Chicago

(“EEOC”), Illinois. A true and correct copy of the Charge of Discrimination is attached

hereto as Exhibit “A” and incorporated herein. The EEOC did then issue a Notice of

Right to Sue letter on April 27, 2018. A true and correct copy of the Notice of Right to

Sue is attached hereto as Exhibit “B” and incorporated herein.

 17.      This action has been timely filed within ninety (90) days of the receipt of the

Notice of Right to Sue

 WHEREFORE, the MATTHEWS prays that the court order such relief as is necessary


                                             3
   Case: 1:18-cv-04829 Document #: 1 Filed: 07/14/18 Page 4 of 8 PageID #:4



to make the plaintiff whole, including:

        1. Reinstatement or, alternatively, front pay;

        2. Damages, including loss of pay and benefits;

        3. Statutory liquidated damages due to the VILLAGE's willful conduct;

        4. Attorneys' fees and costs incurred in this action

        5. Such other relief as is just and equitable.

        6. The plaintiff requests a jury trial of this action.

          AS AND FOR A SECOND CAUSE OF ACTION BY KEVIN SHAW
                         AGE DISCRIMINATION

   18. SHAW repeats and realleges paragraphs one to three set forth above with the

same force and effect as if more fully set forth herein.

  19. SHAW is an adult person and a resident of Ford Heights, Cook County, State of

Illinois.

  20.        At all times relevant, VILLAGE body politic organized under the laws of the

State of Illinois.


  21. VILLAGE is an employer within the meaning of the ACT and has been at all times

material to the allegations herein.


                                    STATEMENT OF FACTS

  22.       SHAW was an employee for VILLAGE until being terminated on May 8, 2017.

  23.       At all times relevant, VILLAGE and has continuously had and now have more

than 15 employees.

  24.       SHAW was 63 years of age at the relevant times and falls within the group

protected by the ADEA.

 25. At all times material herein and hereinafter mentioned VILLAGE has engaged in
                                                  4
   Case: 1:18-cv-04829 Document #: 1 Filed: 07/14/18 Page 5 of 8 PageID #:5



and employed its employees, at all times material herein, engaged in commerce within

the meaning of the ADEA.

26.    VILLAGE is an employer within the meaning of the ADEA.

27. On or about May 8, 23017, while meeting the minimum standards of his employer,

the defendant willfully discriminated against SHAW because of his age by treating him

differently in terms and conditions of employment, and then subjecting him to an adverse

employment action by telling SHAW that he was being terminated him from employment

and replacing him with significantly younger person who also was less qualified then

him.

28.    As a result of VILLAGE’s actions and termination, the SHAW has been deprived

of his wages and employment benefits.

29.    In addition, the SHAW seeks to be reinstated, but if he is not reinstated, he will

continue to be deprived of wages and employment benefits in the future. SHAW is

therefore entitled to an award of front pay if reinstatement is not possible.

30. VILLAGE’s conduct was at all times willful and wanton entitling the SHAW to

liquidated damages.

                               PROCEDURAL FACTS

31.    SHAW protested his unlawful treatment filed charges of the discrimination herein

alleged with the Equal Employment Opportunity Commission at Chicago (“EEOC”),

Illinois. A true and correct copy of the Charge of Discrimination is attached hereto as

Exhibit “C” and incorporated herein. The EEOC did then issue a Notice of Right to Sue

letter on April 17, 2018. A true and correct copy of the Notice of Right to Sue is attached

hereto as Exhibit “D” and incorporated herein.


                                              5
   Case: 1:18-cv-04829 Document #: 1 Filed: 07/14/18 Page 6 of 8 PageID #:6



 32       This action has been timely filed within ninety (90) days of the receipt of the

Notice of Right to Sue

 WHEREFORE, the SHAW prays that the court order such relief as is necessary to make

the plaintiff whole, including:

        1. Reinstatement or, alternatively, front pay;

        2. Damages, including loss of pay and benefits;

        3. Statutory liquidated damages due to the VILLAGE's willful conduct;

        4. Attorneys' fees and costs incurred in this action

        5. Such other relief as is just and equitable.

        6. The plaintiff requests a jury trial of this action.

            AS AND FOR A THIRD CAUSE OF ACTION BY VERNELL TOBIAS
                          AGE DISCRIMINATION

   33. TOBIAS repeats and realleges repeats paragraphs one to three set forth above

with the same force and effect as if more fully set forth herein.

allegation set forth above with the same force and effect as if more fully set forth herein.

  34. TOBIAS is an adult person and a resident of Chicago, Cook County, State of

Illinois.

  35.        At all times relevant, VILLAGE body politic organized under the laws of the

State of Illinois.


 36. VILLAGE is an employer within the meaning of the ACT and has been at all times

material to the allegations herein.


                                    STATEMENT OF FACTS

  37.       TOBIAS was a employee for VILLAGE performing the duties as the Head of

Economic Development until being terminated on May 8, 2017.
                                                  6
   Case: 1:18-cv-04829 Document #: 1 Filed: 07/14/18 Page 7 of 8 PageID #:7



 38.     At all times relevant, VILLAGE and has continuously had and now have more

than 15 employees.

 39.    TOBIAS was 62 years of age at the relevant times and falls within the group

protected by the ADEA.

 40. At all times material herein and hereinafter mentioned VILLAGE has engaged in

and employed its employees, at all times material herein, engaged in commerce within

the meaning of the ADEA.

41.    VILLAGE is an employer within the meaning of the ADEA.

42. On or about May 8, 23017, while meeting the minimum standards of his employer,

the defendant willfully discriminated against TOBIAS because of his age by treating him

differently in terms and conditions of employment, and then subjecting him to an adverse

employment action by terminating him from employment and replacing him with

significantly younger person who also was less qualified then him.

43.    As a result of VILLAGE’s actions and termination, the TOBIAS has been deprived

of his wages and employment benefits.

44. In addition, the TOBIAS seeks to be reinstated, but if he is not reinstated, he will

continue to be deprived of wages and employment benefits in the future. TOBIAS is

therefore entitled to an award of front pay if reinstatement is not possible.

45. VILLAGE’s conduct was at all times willful and wanton entitling the TOBIAS to

liquidated damages.

                               PROCEDURAL FACTS

46. TOBIAS protested his unlawful treatment filed charges of the discrimination herein

alleged with the Equal Employment Opportunity Commission at Chicago (“EEOC”),


                                              7
  Case: 1:18-cv-04829 Document #: 1 Filed: 07/14/18 Page 8 of 8 PageID #:8



Illinois. A true and correct copy of the Charge of Discrimination is attached hereto as

Exhibit “E” and incorporated herein. The EEOC did then issue a Notice of Right to Sue

letter on June 20, 2018. A true and correct copy of the Notice of Right to Sue is attached

hereto as Exhibit “F” and incorporated herein.

 47     This action has been timely filed within ninety (90) days of the receipt of the

Notice of Right to Sue

 WHEREFORE, the TOBIAS prays that the court order such relief as is necessary to

make the plaintiff whole, including:

      1. Reinstatement or, alternatively, front pay;

      2. Damages, including loss of pay and benefits;

      3. Statutory liquidated damages due to the VILLAGE's willful conduct;

      4. Attorneys' fees and costs incurred in this action

      5. Such other relief as is just and equitable.

      6. The plaintiff requests a jury trial of this action.


                                    MARY GRANZIANO-MATHEWS,
                                    KEVIN SHAW          )
                                    VERNELL TOBIAS
                                   BY:/s/ Michael T. Smith
                                      Michael T. Smith
                                        Trial Attorney

 Michael T. Smith 6180407IL
 10 N. Martingale Road
 Suite 400
 Schaumburg, Illinois 60173
 (847) 466-1099




                                                8
